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                    EXHIBIT K
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                                  M ICHAEL M. G ALLAGHER
                                         16255 Park Ten Pl., Suite 500
                                            Houston, Texas 77004
                                                 (689) 219-2333
                                      michaelgallagher@forthepeople.com
                                                 EXPERIENCE
MORGAN & MORGAN, P.A., HOUSTON, TEXAS                                         DECEMBER 2021 TO PRESENT
     BRIEFING ATTORNEY
            My practice focuses on preparing motions, briefs, and appeals for plaintiffs in personal injury
            and product liability cases in state and federal courts. I also have experience in class actions,
            mass actions, and multidistrict litigations.

THE WEBSTER LAW FIRM, HOUSTON, TEXAS                                NOVEMBER 2018—SEPTEMBER 2021
     OF COUNSEL
            Worked up, prepared, and settled product liability and personal injury lawsuits in state and
            federal courts. Successfully resolved two mass tort dockets involving Invokana and Jardiance.
            Represented more than 400 plaintiffs who sued governmental entities and corporations in
            connection with flooding sustained during Hurricane Harvey. Extensive deposition and brief-
            writing experience.

AVRAM BLAIR & ASSOCIATES, HOUSTON, TEXAS                                 FEBRUARY 2018—OCTOBER 2018
      OF COUNSEL
             Managed docket of pharmaceutical failure to warn cases involving Invokana.

DANIEL & ASSOCIATES, HOUSTON, TEXAS                                               APRIL 2017—JANUARY 2018
      OF COUNSEL
             Trial practice focusing on personal injury, failure to warn, and product liability lawsuits.
CLARK, LOVE & HUTSON, HOUSTON, TEXAS                                           FEBRUARY 2012—MARCH 2017
       ASSOCIATE
              Representation of plaintiffs in pharmaceutical, product liability, and personal injury lawsuits in
              state and federal courts. Substantial experience in failure to warn cases involving the following
              drugs: Topamax, Zoloft, Celexa, Lexapro, and Invokana. Member of trial teams in first two
              Topamax cases that resulted in $4,002,184.68 (plaintiff pick) and $10,995,000 (defense pick)
              verdicts. Deposed more than several Johnson & Johnson employees in In re: Topamax litigation
              in the Philadelphia Court of Common Pleas. Member of the trial teams in the first two Zoloft
              cases to go to verdict. Managed and worked up Biomet hip implant cases in state and federal
              courts, ultimately reaching a confidential settlement.
HAYS, MCCONN, RICE & PICKERING, HOUSTON, TEXAS                                SEPTEMBER 2004 – JANUARY 2012
      SHAREHOLDER (January 2011 – January 2012)
      ASSOCIATE (September 2004 – December 2010)
             Trial practice focusing on professional liability, products liability, commercial litigation, and real
             estate litigation. First-chair experience in four trials and second-chair experience in three trials,
             including a commercial fraud case resulting in a unanimous $13,150,310 verdict for the plaintiff.
U.S. DISTRICT COURT, EASTERN DISTRICT OF TEXAS, SHERMAN, TEXAS                     AUGUST 2003 – AUGUST 2004
       LAW CLERK TO THE HONORABLE RICHARD A. SCHELL
U.S. COURT OF APPEALS FOR THE FIFTH CIRCUIT, HOUSTON, TEXAS                            JUNE 2001 – AUGUST 2001
       JUDICIAL INTERN TO THE HONORABLE JERRY E. SMITH

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                                                     EDUCATION
UNIVERSITY OF HOUSTON LAW CENTER, HOUSTON, TEXAS
      DOCTOR OF JURISPRUDENCE, MAY 2003
      HONORS:           Dean’s Scholar; Order of the Barristers; Maurice Howard Treiman Writing Award;
      2003 Blakely-Butler Moot Court Champion; Head Casenotes & Comments Editor, Houston Journal of
      International Law
GEORGETOWN UNIVERSITY, WASHINGTON, D.C.
     BACHELOR OF ARTS IN GOVERNMENT, MINOR IN THEOLOGY, MAY 2000
     HONORS:      Cum Laude
                                                    PUBLICATIONS
● Snap Removal and the Sherlock Holmes Canon, 53 CUMB. L. REV. (forthcoming 2024)
● Blameless Ignorance Under Florida Law – A “Peculiarly Local Doctrine,” 98 FLA. B.J. 34 (2024)
● Clear Evidence of Impossibility Preemption after Wyeth v. Levine, 51 GONZAGA L. REV. 439 (2016)
● Legal Malpractice Lawsuits in Texas and the Forgotten Rule of Collectibility, 53 S. TEX. L. REV. 101(2011)
● Into the Briar Patch? Shareholder Derivative Lawsuits and Homeowners Associations, FOR THE DEFENSE (June 2009)
● The New Cottage Industry—Litigation Under the Americans With Disabilities Act, FOR THE DEFENSE (Aug. 2006)
● Vetoing Class Actions, 24 REV. LITIG. 527 (2005)
● Abolishing the Texas Jury Shuffle, 35 ST. MARY’S L.J. 303 (2004)
        cited in Hayes v. Thaler, 371 F. App’x 563, 568 n.3 (5th Cir. Jan. 19, 2010)
● Comment, Declaring Victory and Getting Out [of Europe]: Why the North Atlantic Treaty Organization Should Disband,
      25 HOUS. J. INT’L L. 341 (2003)
● Disarming the Confirmation Process, 50 CLEV. ST. L. REV. 513 (2002-03)

                                              HONORS AND AWARDS
● Texas Super Lawyers, 2017-2021;
● Texas Super Lawyers – Rising Star, 2012-2017;
● Top Lawyers – Houstonia Magazine, 2013-2015;
● Houston’s Top Lawyers 2015, HTexas Magazine;
● Member, Million Dollar Advocates Forum;
                                                  REPORTED CASES
In re: Future Motion, Inc. Prods. Liab. Litig., 2023 WL 8539210 (J.P.M.L. Dec. 8, 2023); Colpoys v. Future Motion, Inc.,
2023 WL 5917007 (M.D. Fla. Aug. 17, 2023); In re: Recalled Abbott Infant Formula Prods. Liab. Litig., 2023 WL
3585639 (N.D. Ill. May 22, 2023); In re: Gardasil Prods. Liab. Litig., 619 F. Supp. 3d 1356 (J.P.M.L. 2022); Czimmer
v. Janssen Pharms., Inc., 122 A.3d 1043 (Pa. Super. Ct. 2015); Gurley v. Janssen Pharms., Inc., 113 A.3d 283 (Pa. Super.
Ct. 2015); Tomlinson v. McComas, 2011 WL 5607604 (Tex. App.—Fort Worth Nov. 17, 2011, pet. denied); Potter v.
HSN, Inc., 2011 WL 5191505 (S.D. Tex. Oct. 31, 2011); Sylver v. Mathis, 2011 WL 1541318 (D. Nev. Apr. 22,
2011); Williams v. Cheyenne Crossing Res. Ass’n, Inc., 2010 WL 5287509 (E.D. Tex. Dec. 17, 2010); Bosch v. Open Pines
Condo. Owners Ass’n, 2010 WL 4484189 (Tex. App.—Houston [1st Dist.] Nov. 10, 2010, pet. denied); Mix v.
Target Corp., 759 F. Supp. 2d 856 (W.D. Tex. 2010); Broyles v. State ex rel. Abbott, 381 F. App’x 370 (5th Cir. June
11, 2010); Chessmore v. Wal-Mart Stores Tex., L.P., 2009 WL 3245413 (S.D. Tex. Oct. 5, 2009); Broyles v. Texas, 618

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F. Supp. 2d 661 (S.D. Tex. 2009); Marin v. Gilberg, 2009 WL 699947 (S.D. Tex. Mar. 11, 2009); Lockett v. HB
Zachry Co., 285 S.W.3d 63 (Tex. App.—Houston [1st Dist.] 2009, no pet.); E & E Group, LLC v. SBD Trade Int’l,
L.P., 2008 WL 5071069 (N.D. Cal. Nov. 26, 2008); West v. Triple B Servs., LLP, 264 S.W.3d 440 (Tex. App.—
Houston [14th Dist.] 2008, no pet.); Javelin Investments, LLC v. McGinnis, 2007 WL 1003856 (S.D. Tex. Mar. 30,
2007); Javelin Investments, LLC v. McGinnis, 2007 WL 781190 (S.D. Tex. Jan. 23, 2007); Nixon v. Wheatley, 203 Fed.
Appx. 674 (5th Cir. 2006); Pree v. Target Corp., 2005 WL 8160956 (E.D. Tex. Sept. 7, 2005); Dugas v. Washington
Mutual, 2005 WL 2234639 (E.D. Tex. Sept. 13, 2005); Nixon v. Wheatley, 368 F. Supp. 2d 635 (E.D. Tex. 2005).
                                                 ADMISSIONS
Texas (2003); Pennsylvania (2012); U.S. Court of Appeals, Fifth Circuit (2005); U.S. District Court, Eastern
District of Texas (2004); U.S. District Court, Southern District of Texas (2005); U.S. District Court., Northern
District of Texas (2005); U.S. District Court, Western District of Texas (2010); U.S. District Court, District of
Colorado (2011).




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